          Case 1:19-cv-02848-JEB Document 71 Filed 07/10/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 MONTE A. ROSE, JR., et al.,

         Plaintiffs,
                v.                                          Civil Action No. 19-2848 (JEB)
 XAVIER BECERRA, Secretary of Health
 and Human Services, et al.,

         Defendants.


                                             ORDER

       The Court ORDERS that Intervenor-Defendant’s [69] Motion for Entry of Judgment

Pursuant to Rule 54(b) is GRANTED in part and DENIED in part. Judgment as to Count I of the

Supplemental Complaint was already entered in the Court’s June 27, 2024, Order at ECF No. 67.

As that filing already complies with Federal Rule of Civil Procedure 58(a), the Motion is denied

to the extent that it requests another filing expressly labelled “Judgment.”

       While the Court believes its Order may currently be appealed, to allay Intervenor-

Defendant’s concern, it now expressly finds pursuant to Rule 54(b) that there is no just reason

for delay of appellate review of that Order and its accompanying Memorandum Opinion. In

assessing whether to grant a Rule 54(b) certification, courts consider “judicial administrative

interests as well as the equities involved, including the relationship between the certified and

uncertified claims and the potential for multiple appeals on the same issues.” Attias v. CareFirst,

Inc., 969 F.3d 412, 417 (D.C. Cir. 2020). Here, several uncertified claims (namely, Counts III–

V) overlap with Count I insofar as the latter challenges the Secretary’s approval of the HIP

extension in its entirety while the former challenge discrete components of that approval. While,



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          Case 1:19-cv-02848-JEB Document 71 Filed 07/10/24 Page 2 of 2




this carries some risk that a future appeal may raise the same issues, the Court’s decision already

affords full relief to Plaintiffs, which, if affirmed on appeal, would likely moot the remaining

claims. That, along with the potential real-world impacts of the Court’s decision as set forth in

Intervenor-Defendant’s [69] Motion at pages 2–3, provides a “sufficiently important reason for

nonetheless granting certification.” Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 n.2

(1980). In short, the Court’s June 27, 2024, Memorandum Opinion and Order granting summary

judgment for Plaintiffs on Count I are final and immediately appealable.

                                                             /s/ James E. Boasberg
                                                             JAMES E. BOASBERG
                                                             Chief Judge
Date: July 10, 2024




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